Case 15-47508   Doc 52   Filed 12/18/17     Entered 12/18/17 14:57:58   Main Document
                                          Pg 1 of 3

                       UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION


 In Re
                                                Case No. 15-47508-659
 Linda M. Thake, aka
 Linda M. Mays, aka                             Chapter 13
 Linda M. Buechner,
          Debtor.                               MOTION FOR RELIEF FROM THE
                                                AUTOMATIC STAY
 U.S. BANK TRUST NATIONAL
 ASSOCIATION, AS TRUSTEE OF                     MOTION WAIVES 30 DAY HEARING
 BUNGALOW SERIES F TRUST,
         Movant.                                Hearing Date: January 22, 2018
                                                Hearing Time: 10:00 AM
 v.                                             Courtroom 7 North

 Linda M. Thake, aka                            Kozeny & McCubbin, LC
 Linda M. Mays, aka                             12400 Olive Blvd., Suite 555
 Linda M. Buechner,                             St. Louis, MO 63141
          Debtor,                               edmo@km-law.com

 and

 Diana S. Daugherty, Trustee.
          Respondents.



                                NOTICE OF HEARING

 PLEASE TAKE NOTICE,

            that upon the annexed motion of U.S. BANK TRUST NATIONAL
            ASSOCIATION, AS TRUSTEE OF BUNGALOW SERIES F TRUST, dated
            December 18, 2017, seeking the termination of the automatic stay with
            regard to certain real estate commonly known as 4058 Humphrey St, Saint
            Louis, MO 63116 the undersigned will move before the Honorable Judge
            Kathy A. Surratt-States in the 7 North Courtroom, of the United States
            Bankruptcy Court for the EASTERN DISTRICT OF MISSOURI, 111 S.
            10th Street, St. Louis, MO 63102, at 10:00 AM, on Monday, January 22,
            2018, or as soon thereafter as counsel may be heard for an order:


 *KM11682898KM*
Case 15-47508   Doc 52   Filed 12/18/17     Entered 12/18/17 14:57:58   Main Document
                                          Pg 2 of 3

            (a) terminating the stay to allow immediate foreclosure of Movant's lien;

            (b) authorizing Movant to immediately pursue its state court remedies for
            possession of said real estate;

            (c) waiving the 14 day stay period pursuant to Rule 4001;

            (d) granting such other and further relief as may be deemed just and
            proper;

      MOVANT WAIVES THIRTY (30) DAY HEARING REQUIREMENT;

      WARNING: THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY
      AFFECT YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
      CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND
      THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND
      SEND A COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE
      YOUR RESPONSE BY JANUARY 15, 2018. YOUR RESPONSE MUST STATE
      WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
      TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER
      NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED
      AN AGREEMENT, YOU MUST ATTEND THE HEARING. THE DATE IS SET
      OUT ABOVE. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT
      MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE
      MOTION AT THE HEARING. REPRESENTED PARTIES SHOULD ACT
      THROUGH THEIR ATTORNEYS.



                                          Respectfully submitted,

                                          /s/Jonathon B. Burford
                                          Jonathon B. Burford, #59337MO
                                          Attorneys for Movant
                                          12400 Olive Blvd., Suite 555
                                          St. Louis, MO 63141
                                          Phone: (314) 991-0255
                                          Fax: (314) 567-8019
                                          edmo@km-law.com




 *KM11682898KM*
Case 15-47508     Doc 52       Filed 12/18/17     Entered 12/18/17 14:57:58   Main Document
                                                Pg 3 of 3

 I certify that a true copy of the Above Pleading was served either electronically or via
 first class mail on December 18, 2017, upon the following parties:

 Linda M. Thake
 Debtor
 4058 Humphrey St.
 Saint Louis, MO 63116

 Ross H. Briggs
 Attorney for Debtor
 4144 Lindell Blvd, Suite 202
 St. Louis, MO 63108

 Diana S. Daugherty
 Trustee
 PO Box 430908
 St. Louis, MO 63143

 U.S. Trustee
 Office of the US Trustee
 111 S. 10th St., Ste. 6.353
 St. Louis, MO 63102


 /s/ Jessica Werner
    Jessica Werner




 *KM11682898KM*
